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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                   HARTFORD DIVISION


    In re:                                             Chapter 11

    THE NORWICH ROMAN CATHOLIC                         Case No: 21-20687 (JJT)
    DIOCESAN CORPORATION,1
                                                       November 15, 2021
                           Debtor.
                                                       Objections Due: Dec. 6, 2021 at 4:00 p.m.


                SECOND MONTHLY STATEMENT OF ICE MILLER LLP FOR
             INTERIM MONTHLY COMPENSATION AND REIMBURSEMENT OF
                     EXPENSES AS CO-COUNSEL TO THE DEBTOR
                  FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021


Name of Retained Professional:                     Ice Miller LLP

Party Represented:                                 Debtor

Date of Retention:                                 Approved September 17, 2021
                                                   Effective July 15, 2021

Period for which compensation
and reimbursement is sought:                       October 1, 2021 through October 31, 2021

Amount of compensation sought:                     $90,286.00 (70% of $128,980.00)
Amount of expenses sought:                         $174.30

Total interim payment sought                       $90,460.30

This is a(n): X monthly statement ___ interim application ___ final application.




1
 The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, a/k/a The Roman Catholic
Diocese of Norwich. The last four digits of the Debtor’s federal tax identification number are 7373.
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                         COMPENSATION BY TASK CODE


Project Category                                            Total Hours      Total Fees
                                                                                ($)

(02) Asset Disposition                                                1.10       $918.50
(03) Assumption and Rejection of Leases & Contracts                   0.70       $584.50
(05) Business Operations                                              0.00
(06) Case Administration                                             61.20    $41,116.50
(09) Employment Benefits and Pensions                                 0.00
(10) Employment and Fee Application (Firm)                           19.90    $13,005.50
(11) Employment and Fee Applications (Others)                         4.10     $2,181.50
(12) Financing, Cash Collateral, Make Whole                           0.00
(13) Other Litigation/Adversary Matters                               0.00
(14) Meetings and Communications with Creditors                       0.00
(15) Non-Working Travel                                               0.00
(16) Plan and Disclosure Statement                                    6.20     $3,833.00
(17) Relief from Stay and Adequate Protection                         0.00
(18) Tax                                                              0.00
(21) Hearings                                                         0.00
(22) First and Second Day Motions                                     0.00
(24) Lien Investigation                                               0.00
(26) Personal Injury Matters                                          0.00
(27) Other Motions/Applications                                      18.10    $13,644.00
(28) Respond to UST Requests                                          5.30     $4,108.50
(29) Respond to Committee Rule 2004 Subpoena                         90.50    $49,568.00
TOTAL:                                                              207.10   $128,980.00




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                                   COMPENSATION BY TIMEKEEPER


    Timekeeper                       Position/Title Bar Admission             Rate    Hours        Amount
                                                    and Practice
                                                    Group

    Louis DeLucia                    Partner            Admitted 1986         $835     46.40     $38,744.00
                                                        Bankruptcy and
                                                        Financial
                                                        Restructuring
    Alyson Fiedler                   Partner            Admitted 2000         $795     74.20     $58,989.00
                                                        Bankruptcy and
                                                        Financial
                                                        Restructuring
    Tyson Crist                      Partner            Admitted 1999         $515      4.20      $2,163.00
                                                        Bankruptcy and
                                                        Financial
                                                        Restructuring
    John Cannizzaro                  Of Counsel         Admitted 2009         $425     38.20     $16,235.00
                                                        Bankruptcy and
                                                        Financial
                                                        Restructuring
    Michael Ott                      Of Counsel         Admitted 2007         $470      6.00      $2,820.00
                                                        Bankruptcy and
                                                        Financial
                                                        Restructuring
    John Acquaviva                   Paralegal          Paralegal             $2702    20.90      $5,643.00
                                                        Bankruptcy and
                                                        Financial
                                                        Restructuring
    Ryan Hibbard                     Law Clerk          Not Yet Admitted      $255     17.20      $4,386.00
                                                        Bankruptcy and
                                                        Financial
                                                        Restructuring
    GRAND TOTAL                                                                       207.10    $128,980.00
    BLENDED RATE:                                                           $622.79




2
    Hourly rate is discounted from standard hourly rate of $425.

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                                EXPENSE SUMMARY

       Expense Category           Service Provider (if applicable)     Total Expenses
Audio Conferencing
Court Fees
Delivery Services
Deposition Transcripts
Federal Express Delivery
Mileage
Subpoena Fees
Copy, Print & Scan Charges
Records Requests
Legal Research                   Westlaw                                         $174.30
TOTAL:                                                                           $174.30




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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                     HARTFORD DIVISION


    In re:                                              Chapter 11

    THE NORWICH ROMAN CATHOLIC                          Case No: 21-20687 (JJT)
    DIOCESAN CORPORATION,1
                                                        November 15, 2021
                             Debtor.


               STATEMENT OF NO OBJECTION BY DEBTOR’S REPRESENTATIVE
                                 KAREN L. HUFFER

             Karen L. Huffer, on behalf of the Debtor in the above-captioned case, hereby states:

             1.     I am a duly authorized representative of The Norwich Roman Catholic Diocesan

Corporation, a/k/a The Roman Catholic Diocese of Norwich.

             2.     I have reviewed the Second Monthly Statement of Ice Miller LLC for Interim

Monthly Compensation and Reimbursement of Expenses as Co-Counsel to the Debtor from

October 1, 2021 through October 31, 2021 and do not object to the fees and expenses set forth

therein.

             November 15, 2021

                                                            /s/ Karen L. Huffer
                                                            Karen L. Huffer




1
 The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, a/k/a The Roman Catholic
Diocese of Norwich. The last four digits of the Debtor’s federal tax identification number are 7373.
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                                                                                              Invoice No. XX-XXXXXXX
                                                                                                  November 15, 2021


  The Roman Catholic Diocese of Norwich
  Deliver via Email
  financekaren@norwichdiocese.net
  alice@norwichdiocese.net

  Re:     Chapter 11 Bankruptcy of Diocese of Norwich
          Our Matter No. 064052.10002
                                             INVOICE SUMMARY


  For Services rendered through October 31, 2021

  Professional Services                                                                                 $128,980.00

  Disbursements                                                                                             $174.30

  Total Current Invoice                                                                                 $129,154.30


  Previous Balance Due                                                                                  $513,946.21

  Total Balance Due                                                                                     $643,100.51




Thank you for giving Ice Miller the opportunity to serve you. We appreciate your business and the confidence you have
                              placed in us. Please call if we can be of further assistance.
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Chapter 11 Bankruptcy of Diocese of Norwich                                                        Invoice No. XX-XXXXXXX
Our Matter No. 064052.10002                                                                            November 15, 2021




                                            PROFESSIONAL SERVICES


Date          Initials        Description                                                                       Hours

02 - (02) Asset Disposition

10/01/2021    DELU L          Correspondence with S. Kindseth regarding MSJ sale of property                       0.20
                              and involvement of committee in process.

10/29/2021    DELU L          Conference call with Cushman & Wakefield and all other interested                    0.90
                              parties regarding status of MSJ property sale.

Subtotal for 02_____________________________________________________________________                            918.50

03 - (03) Assumption and Rejection of Leases & Contracts

10/18/2021    DELU L          Email on motion to extend time to assume or reject leases/executory                  0.40
                              contracts.

10/21/2021    DELU L          Follow up on lease assumption/rejection.                                             0.30

Subtotal for 03_____________________________________________________________________                            584.50

06 - (06) Case Administration

10/01/2021    CANN J          Work on 2019 demand letters.                                                         0.50

10/01/2021    CANN J          Work on bar date motion, order, form of notice, and form of sexual                   1.10
                              abuse proof of claim.

10/01/2021    DELU L          Correspondence with Christian Brothers counsel and set up                            0.40
                              conference call regarding same on Monday.

10/01/2021    FIED A          Correspondence with S. Kindseth.                                                     0.20

10/01/2021    FIED A          Review Rule 2019 demand letters.                                                     0.40

10/01/2021    FIED A          Correspondence with A. Kadish regarding status.                                      0.10

10/01/2021    FIED A          Revise bar date motion.                                                              0.80

10/05/2021    ACQU J          Review incoming case documents, and manage case calendar.                            0.30

10/05/2021    ACQU J          Telephone call with NY Secretary of State office regarding org                       0.20
                              documents relating to The Roman Catholic Church of Our Lady of
                              Grace, at Fishers Island, in the County of Suffolk in the State of
                              New York.

10/05/2021    DELU L          Call with Christian Brothers counsel, Alan Kadish regarding status,                  0.50
                              POC bar date, State Court litigation.

10/05/2021    FIED A          Call with A. Kadish regarding status.                                                0.50

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Chapter 11 Bankruptcy of Diocese of Norwich                                                     Invoice No. XX-XXXXXXX
Our Matter No. 064052.10002                                                                         November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                      Hours

10/06/2021   DELU L         Call from Bank of America - coordinate response regarding                          0.10
                            continuation as a charitable organization.

10/06/2021   DELU L         Receipt and review of 60 Jay Street deed(s)/real property records                  0.30
                            from Diocese.

10/06/2021   OTT M          Call with high school counsel and continue drafting memorandum                     1.50
                            on school property.

10/07/2021   ACQU J         Review incoming case documents, and manage case calendar.                          0.20

10/07/2021   DELU L         Work on and revise R. 2019 letter to plaintiffs' counsel.                          0.30

10/07/2021   DELU L         Work on Abuse Claim changes and POC Bar Date Order.                                1.20

10/07/2021   DELU L         Emails with Steve Kindseth regarding POC Bar Date.                                 0.10

10/07/2021   FIED A         Review revised Rule 2019 demand letter.                                            0.20

10/08/2021   ACQU J         Review incoming case documents, and manage case calendar.                          0.60

10/08/2021   DELU L         Review of email from Committee counsel with list of all                            0.10
                            publications for the POC Bar Date.

10/08/2021   DELU L         Receipt and review of Committee's comments and edits to POC                        0.40
                            Order Setting Bar Date.

10/08/2021   DELU L         Receipt and review of Committee comments to and edits to draft                     0.40
                            abuse POC.

10/08/2021   DELU L         Prepare for and then call with Committee on Bar Date motion.                       0.50

10/08/2021   FIED A         Correspondence with E. Henzy regarding publications for bar date                   0.20
                            motion.

10/08/2021   FIED A         Review final receipts and disbursements through August 2021.                       0.40

10/08/2021   FIED A         Review UCC comments to POC.                                                        0.50

10/08/2021   FIED A         Call with UCC regarding bar date.                                                  0.50

10/08/2021   FIED A         Review edits of UCC to bar date motion.                                            0.50

10/09/2021   DELU L         Correspondence with Catholic Mutual regarding Z&Z comments to                      0.20
                            POC Bar Date Motion and Abuse Claim form.

10/11/2021   FIED A         Review diocesan real estate documents.                                             3.60

10/11/2021   FIED A         Review memorandum regarding real estate and applicable law.                        1.40

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Chapter 11 Bankruptcy of Diocese of Norwich                                                      Invoice No. XX-XXXXXXX
Our Matter No. 064052.10002                                                                          November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                       Hours

10/11/2021   OTT M          Follow-up with high school counsel and finalize memorandum on                       3.00
                            school property ownership.

10/13/2021   CANN J         Work on bar date order, abuse survivor claim form, publication                      3.60
                            notice, and motion.

10/14/2021   ACQU J         Review incoming case documents, and manage case calendar.                           0.40

10/14/2021   CANN J         Work on bar date motion.                                                            1.60

10/14/2021   DELU L         Emails with Steve Kindseth, M. Fisher regarding POC Bar Date                        0.20
                            Motion and results of their discussions/disagreement on Sexual
                            Abuse POC form.

10/14/2021   DELU L         Utilities Motion - deposit account follow-up emails.                                0.30

10/14/2021   DELU L         Emails with Father Ted Tumicki regarding ad hoc parish committee.                   0.40

10/14/2021   DELU L         Correspondence with counsel to Catholic Mutual, M. Fisher                           0.40
                            regarding POC Bar Date motion and Sexual Abuse Claim form
                            comments.

10/14/2021   DELU L         Correspondence with Karen Huffer regarding Catholic Charities                       0.40
                            payments - payments to be made by ACA not Diocese.

10/14/2021   DELU L         Work on bar date motion, review updated draft.                                      0.80

10/14/2021   DELU L         Correspondence with prospective counsel to ad hoc parish                            0.20
                            committee.

10/14/2021   FIED A         Correspondence with Father Ted regarding parishes.                                  0.20

10/14/2021   FIED A         Assess Catholic Charities payroll.                                                  0.50

10/14/2021   FIED A         Work on bar date motion issues.                                                     0.60

10/15/2021   ACQU J         Manage correspondence with calendar clerk confirming attendance                     0.10
                            in preparation of October 21, 2021 hearing.

10/15/2021   ACQU J         Norwich case status meeting with CT counsel.                                        1.00

10/15/2021   DELU L         Conference call update and tasks meeting with Karen Huffer and B.                   1.00
                            Riley.

10/15/2021   DELU L         Conference call with Catholic Mutual re its comments to the draft                   0.50
                            Abuse POC.

10/15/2021   DELU L         Conduct Status Conference call with team/RC regarding open                          1.00
                            matters, including exclusivity extension, removal of actions under
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Chapter 11 Bankruptcy of Diocese of Norwich                                                     Invoice No. XX-XXXXXXX
Our Matter No. 064052.10002                                                                         November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                      Hours

                            9027, UST and Committee reporting, future claims representative,
                            Parish ad hoc committee, bar date motion and all open case
                            management issues.

10/15/2021   FIED A         Review revised real estate memo.                                                    1.20

10/15/2021   FIED A         Call with M. Fisher regarding bar date.                                             0.40

10/15/2021   FIED A         Strategy call with RC et al.                                                        1.00

10/15/2021   OTT M          Revise and update memorandum on high school properties and                          1.50
                            emails regarding same.

10/18/2021   CANN J         Work on review of compliance with obligations imposed by certain                    0.30
                            orders.

10/18/2021   DELU L         Receipt and review of US Bank correspondence and equipment                          0.60
                            finance/leases.

10/18/2021   FIED A         Review Jay Street lease agreement.                                                  0.90

10/18/2021   FIED A         Prepare for parish call.                                                            0.90

10/18/2021   FIED A         Participate in parish call.                                                         1.00

10/19/2021   DELU L         Emails and questions from K. Huffer on certain payables, and                        0.40
                            charitable payment obligations.

10/19/2021   FIED A         Review USB letter.                                                                  0.20

10/20/2021   CANN J         Worked on additional revisions to sexual abuse proof of claim and                   1.60
                            bar date motion.

10/20/2021   DELU L         Receipt of additional comments from CM to Abuse POC form, and                       0.60
                            emails regarding same.

10/20/2021   DELU L         Work on revisions to POC Bar Date Motion, Order and Abuse POC;                      2.00
                            and related correspondence with CM, Parish Committee Counsel,
                            and MSJ counsel.

10/20/2021   FIED A         Review 341 transcripts for errata.                                                  1.20

10/20/2021   FIED A         Review revised POC form containing CM's revisions.                                  0.70

10/21/2021   ACQU J         Review incoming case documents, and manage case calendar.                           0.30

10/21/2021   FIED A         Call with W. Weitz regarding status.                                                0.20

10/22/2021   CANN J         Worked on claims bar date motion and order revisions.                               0.70

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Chapter 11 Bankruptcy of Diocese of Norwich                                                      Invoice No. XX-XXXXXXX
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                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                       Hours

10/22/2021   DELU L         Began draft of case management plan going forward through                            1.00
                            exclusivity.

10/22/2021   DELU L         Emails and call with Counsel to MSJ regarding sale of the property                   0.50
                            and need for all-hands call.

10/22/2021   FIED A         Review Parish Org Chart.                                                             0.50

10/22/2021   FIED A         Review proposed and revised publication notice.                                      0.20

10/22/2021   FIED A         Review revised bar date motion, order and proof of claim.                            0.90

10/25/2021   ACQU J         Transcribe approved testimony from 341 meeting to errata sheet (K.                   0.80
                            Huffer).

10/25/2021   CANN J         Exchange communications with client Norwich utilities regarding                      0.30
                            utility issues.

10/25/2021   DELU L         Prepare for and then call with Mark Mintz, proposed counsel to the                   1.00
                            ad hoc Parish committee.

10/25/2021   FIED A         Correspondence with A. Kadish regarding status.                                      0.20

10/26/2021   DELU L         Emails and work on Rule 2019 compliance by plaintiffs'                               0.50
                            professionals

10/26/2021   DELU L         Further work on POC Bar Date motion, related emails regarding                        1.50
                            CM/Committee disputed language in abuse POC, and drafting, to
                            incorporate ad hoc committee issues.

10/27/2021   ACQU J         Research and review/analyze for accuracy and content past and                        1.00
                            pending cases in which the proof of claim bar date has passed to
                            ascertain if parishes in those cases filed proofs of claims.

10/27/2021   CANN J         Worked on additional parish proposed changes to claims bar date                      0.60
                            filings.

10/27/2021   DELU L         Correspondence with Committee counsel regarding plaintiffs'                          0.30
                            counsel compliance with R. 2019 statement.

10/27/2021   DELU L         Review, revise and emails coordinating filing of POC Bar Date                        1.80
                            Motion and motion/order shortening time.

Subtotal for 06_____________________________________________________________________                       41,116.50

10 - (10) Employment and Fee Application (Firm)

10/07/2021   CANN J         Worked on revisions to compensation procedures motion based                          0.30
                            upon UST additional comments.
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Our Matter No. 064052.10002                                                                         November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                      Hours

10/07/2021   DELU L         Review of UST comments to the motion for interim compensation.                      0.20

10/07/2021   FIED A         Review UST's comments to motion for interim compensation.                           0.20

10/13/2021   FIED A         Work on fees for fee statement.                                                     1.60

10/15/2021   FIED A         Work on fee statements.                                                             0.90

10/18/2021   DELU L         Correspondence and coordination of fee statements with/from all                     0.50
                            professionals, including RC, B. Riley, IM, and Brown Jacobson.

10/19/2021   CANN J         Worked on first interim fee statement.                                              0.70

10/19/2021   HIBB R         Drafted Ice Miller First interim fee application.                                   2.50

10/20/2021   DELU L         Emails and work on Interim Fee Statements for entire professional                   0.40
                            team - assigning tasks between RC and IM to avoid duplication.

10/20/2021   FIED A         Review IM fee statement.                                                            0.30

10/21/2021   CANN J         Work on first interim fee statement.                                                0.90

10/26/2021   CANN J         Worked on fee statement issues.                                                     0.30

10/26/2021   DELU L         Emails to all professionals to coordinate first monthly Fee                         0.20
                            Statement.

10/26/2021   FIED A         Work on First interim fee application and first fee statement.                      4.50

10/28/2021   CANN J         Worked on review of professional fee statements.                                    1.90

10/28/2021   FIED A         Work on fees for fee statement/fee app.                                             2.00

10/29/2021   FIED A         Work on fee application for statement.                                              2.50

Subtotal for 10_____________________________________________________________________                      13,005.50

11 - (11) Employment and Fee Applications (Others)

10/18/2021   FIED A         Review detailed time for Epiq.                                                      0.30

10/19/2021   HIBB R         Drafted Brown Jacobson fee statement.                                               0.70

10/20/2021   FIED A         Review BJ fee statement.                                                            0.20

10/20/2021   HIBB R         Finished drafting Brown Jacobson fee statement.                                     0.70

10/28/2021   DELU L         Correspondence/emails with all parties (B. Riley, RC and Brown                      0.20
                            Jacobson regarding fee statements).

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Chapter 11 Bankruptcy of Diocese of Norwich                                                      Invoice No. XX-XXXXXXX
Our Matter No. 064052.10002                                                                          November 15, 2021



                                           PROFESSIONAL SERVICES


Date         Initials       Description                                                                       Hours

10/29/2021   CANN J         Continued working on Brown Jacobson first interim fee statement.                     1.00

10/29/2021   DELU L         Emails and review of First Fee Statement, B. Riley Fee Statement,                    1.00
                            and emails with RC.

Subtotal for 11_____________________________________________________________________                        2,181.50

16 - (16) Plan and Disclosure Statement

10/20/2021   DELU L         Work on Plan draft - possible structure and needed related Section                   2.00
                            1129 research.

10/28/2021   CRIS T         Considered background, researched and analyzed certain plan                          2.00
                            formulation issues.

10/29/2021   CRIS T         Prepared a portion of an initial draft memorandum concerning plan                    0.60
                            formulation issues.

10/29/2021   CRIS T         Further research of plan formulation issues.                                         1.30

10/29/2021   CRIS T         Prepared correspondence to inquire about additional facts related to                 0.30
                            the plan issues analysis.

Subtotal for 16_____________________________________________________________________                        3,833.00

27 - (27) Other Motions/Applications

10/01/2021   CANN J         Work on Rule 2019 motion to compel.                                                  1.20

10/04/2021   DELU L         Revise and edit Motion to Approve Stipulation Staying State Court                    1.50
                            Litigation, to be shared with Committee, Christian Brothers.

10/04/2021   FIED A         Work on motion to extend exclusivity.                                                1.10

10/04/2021   FIED A         Review draft motion to stay litigation.                                              0.60

10/06/2021   ACQU J         Review and edit Diocese Motion to Extend Time to Remove                              0.60
                            Actions.

10/06/2021   DELU L         Correspondence on R. 9027 Motion to Extend Time to Remove                            0.10
                            Actions.

10/06/2021   FIED A         Review revised motion to stay litigation.                                            0.40

10/06/2021   FIED A         Review motion to compel R. 2019 compliance.                                          0.50

10/07/2021   FIED A         Review motion to extend stay.                                                        0.50

10/08/2021   DELU L         Review motion to extend time to remove actions; emails with RC                       0.40

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Chapter 11 Bankruptcy of Diocese of Norwich                                                     Invoice No. XX-XXXXXXX
Our Matter No. 064052.10002                                                                         November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                      Hours

                            regarding filing.

10/11/2021   DELU L         Work on POC Bar Date motion, and then exclusivity motion.                           1.50

10/12/2021   ACQU J         Review, draft and edit Motion to Extend Exclusive Period.                           0.50

10/12/2021   DELU L         Correspondence with RC on exclusivity motion, and removal                           0.20
                            motion and motion to expedite.

10/13/2021   FIED A         Work on exclusivity motion.                                                         1.80

10/20/2021   FIED A         Review revised bar date motion.                                                     0.60

10/27/2021   DELU L         Review, edit and revise motion to extend exclusivity.                               1.00

10/27/2021   FIED A         Review revised motion and stipulation for third party stay.                         0.50

10/27/2021   FIED A         Drafting of motion to extend exclusivity.                                           2.40

10/28/2021   DELU L         Further revisions and edits to Motion to Extend Exclusivity.                        1.00

10/29/2021   DELU L         Work on, complete and circulate revised/final motion to extend                      1.00
                            exclusivity.

10/29/2021   DELU L         Work on, revise and circulate final Motion to Compel R. 2019                        0.70
                            Statement.

Subtotal for 27_____________________________________________________________________                      13,664.00

28 - (28) Respond to UST Requests

10/05/2021   CANN J         Conferenced with financial advisor regarding financial reporting.                   0.50

10/06/2021   DELU L         Correspondence with UST regarding Epiq billing.                                     0.10

10/06/2021   DELU L         Receipt and review of "Receipts and Disbursements" reports from                     1.10
                            B. Riley; emails with Todd Beresin and then forward with
                            explanation to Committee counsel and UST.

10/06/2021   FIED A         Review receipts and disbursements by location.                                      0.40

10/08/2021   DELU L         Assemble and then deliver August Cash Management Reports to                         0.40
                            Committee and UST.

10/12/2021   DELU L         Receipt and review of B. Riley Memo and report to UST, dated                        0.40
                            10/12/21, regarding "Additional Information Request from United
                            States Trustee".

10/12/2021   FIED A         Review Response to UST information request.                                         0.50

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Chapter 11 Bankruptcy of Diocese of Norwich                                                    Invoice No. XX-XXXXXXX
Our Matter No. 064052.10002                                                                        November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                     Hours

10/12/2021   FIED A         Review correspondence to UST regarding Epiq invoices.                              0.20

10/12/2021   FIED A         Review Epiq invoices.                                                              0.30

10/14/2021   FIED A         Review UCC reports for September.                                                  0.60

10/15/2021   FIED A         Review MORs and cash management report.                                            0.40

10/20/2021   FIED A         Review final cash management reports.                                              0.40

Subtotal for 28_____________________________________________________________________                      4,108.50

29 - (29) – Respond to Committee Rule 2004 Subpoena

10/01/2021   ACQU J         Manage discovery pursuant to R. 2004 Motion, and organize                          0.80
                            electronically via ShareFile and internal network drive.

10/01/2021   CANN J         Work on initial review of physical and electronic discovery received               1.10
                            for response to Rule 2004 subpoena and issues related to same.

10/01/2021   DELU L         Review of appraisals received of various properties, and work on                   1.00
                            discovery.

10/01/2021   FIED A         Review litigation hold letter.                                                     0.40

10/01/2021   FIED A         Review documents from M. Driscoll for Rule 2004 Subpoena.                          1.50

10/04/2021   ACQU J         Review and organize discovery documents relating to R.2004                         1.80
                            Discovery subpoena, prepare ShareFile and network access for
                            recipients, and manage internal correspondence regarding same.

10/04/2021   CANN J         Worked on preparation for Rule 2004 document review.                               1.10

10/04/2021   DELU L         Work on R. 2004 examination response, emails with M. Driscoll                      2.00
                            regarding same, and documents - review and assemble documents.

10/04/2021   FIED A         Work on document production.                                                       2.70

10/05/2021   ACQU J         Meeting with K. Tran (Epiq) to discuss platform to store discovery.                0.10

10/05/2021   ACQU J         Review and organize discovery documents relating to R.2004                         1.70
                            Discovery subpoena, and manage internal correspondence regarding
                            same.

10/05/2021   ACQU J         Meeting to discuss Committee Deliverables and pending discovery.                   0.50

10/05/2021   CANN J         Worked on review of Rule 2004 documents.                                           0.60

10/05/2021   CANN J         Communicated with Epiq regarding discovery management options                      0.30

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Our Matter No. 064052.10002                                                                      November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                   Hours

                            for Rule 2004 requests.

10/05/2021   DELU L         Work on R.2004 doc production.                                                   1.00

10/05/2021   FIED A         Call with Epiq regarding UCC discovery.                                          0.50

10/05/2021   FIED A         Call regarding UCC discovery with Financial advisors.                            1.00

10/05/2021   FIED A         Work on committee discovery.                                                     1.60

10/06/2021   ACQU J         Review and organize discovery documents relating to R.2004                       2.10
                            Discovery subpoena, and manage correspondence with client and
                            financial advisors regarding same.

10/06/2021   CANN J         Worked on Rule 2004 discovery issues.                                            0.50

10/06/2021   DELU L         Correspondence with Fr. Peter and team and work on assembling                    0.60
                            required info to produce docs.

10/06/2021   FIED A         Work on Rule 2004 discovery request.                                             1.80

10/06/2021   FIED A         Review correspondence for Fr. Langevin regarding discovery.                      0.20

10/06/2021   FIED A         Call with Epiq regarding discovery.                                              0.50

10/07/2021   FIED A         Correspondence with K. Perkins regarding discovery.                              0.20

10/07/2021   FIED A         Work on response to Rule 2004 subpoena compliance.                               3.20

10/10/2021   DELU L         Committee R. 2004 Subpoena - Correspondence with team                            0.40
                            regarding docs from Pulman & Conley.

10/12/2021   ACQU J         Manage pending issues regarding review database for DON                          0.60
                            discovery documents.

10/12/2021   ACQU J         Meeting with Judge Holzberg and K. Perkins (Pullman), L. DeLucia                 0.40
                            and A. Fiedler regarding obtaining DON discovery documents.

10/12/2021   CANN J         Worked on committee Rule 2004 discovery.                                         0.90

10/12/2021   FIED A         Work on discovery response.                                                      1.20

10/12/2021   FIED A         Call with Pullman & Comley regarding discovery.                                  0.70

10/13/2021   CANN J         Worked on document review management.                                            0.30

10/14/2021   DELU L         Correspondence with Pullman & Conley regarding doc production.                   0.20

10/14/2021   FIED A         Work on document production.                                                     1.80

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                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                      Hours

10/15/2021   ACQU J         Meeting with internal case team, financial advisors and K. Huffer on                0.80
                            discovery compliance.

10/15/2021   CANN J         Worked on protective order issues.                                                  0.30

10/15/2021   CANN J         Conference with client regarding discovery responses.                               0.80

10/15/2021   FIED A         Review confidentiality order.                                                       0.40

10/15/2021   FIED A         Call with B. Riley regarding discovery request.                                     0.80

10/19/2021   CANN J         Coordinated with J. Acquaviva and lit support regarding discovery                   0.50
                            import for Committee Rule 2004.

10/19/2021   FIED A         Review Rule 2004 Subpoena.                                                          0.50

10/20/2021   CANN J         Worked on Rule 2004 committee discovery.                                            1.10

10/20/2021   DELU L         Work on committee R. 2004 discovery.                                                0.50

10/21/2021   ACQU J         Manage strategy with Litigation Support in furtherance of                           1.40
                            developing comprehensive discovery database in preparation for
                            receipt and upload and organization of diocesan files.

10/21/2021   CANN J         Worked on Rule 2004 discovery review.                                               4.90

10/21/2021   DELU L         Emails on and then participate in call on R. 2004 Committee                         1.00
                            discovery production.

10/21/2021   FIED A         Work on discovery.                                                                  0.50

10/21/2021   FIED A         Review discovery from Pullman & Comley.                                             1.80

10/21/2021   FIED A         Correspondence with Pullman & Comley regarding discovery.                           0.50

10/21/2021   HIBB R         Reviewed Diocese documents related to Rule 2004 examination;                        4.10
                            identified documents related to real estate of the Diocese and
                            insurance coverage.

10/22/2021   CANN J         Worked on Rule 2004 subpoena response and production issues.                        0.90

10/22/2021   FIED A         Review Response to Rule 2004 subpoena.                                              1.20

10/22/2021   FIED A         Work on response to Rule 2004.                                                      1.30

10/22/2021   HIBB R         Drafted Excel sheet identifying documents responsive to Rule 2004                   1.90
                            subpoena.

10/25/2021   ACQU J         Review pending issues regarding Norwich discovery and its upload                    0.80

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Our Matter No. 064052.10002                                                                        November 15, 2021



                                          PROFESSIONAL SERVICES


Date         Initials       Description                                                                     Hours

                            to Relativity, and manage communications with Litigation Support
                            regarding same.

10/25/2021   ACQU J         Conference with A. Fiedler and J. Cannizzaro regarding Norwich                     0.40
                            discovery status and document review.

10/25/2021   CANN J         Work on Committee Rule 2004 discovery response.                                    1.00

10/25/2021   DELU L         Work on Committee doc production pursuant to Rule 2004.                            0.90

10/25/2021   DELU L         Edits to "rolling discovery" letter.                                               0.30

10/25/2021   FIED A         Review revised Rule 2004 rolling letter.                                           0.20

10/25/2021   FIED A         Review insurance and real estate documents for Rule 2004.                          2.10

10/25/2021   FIED A         Internal call regarding coordination discovery compliance.                         0.50

10/26/2021   ACQU J         Review and manage discovery protocols in furtherance of uploading                  0.90
                            Norwich diocese discovery to Relativity, and manage
                            correspondence with Litigation Support regarding same.

10/26/2021   ACQU J         Meeting with J. Cannizzaro and R. Hibbard regarding diocese                        0.50
                            discovery and Relativity document review.

10/26/2021   ACQU J         Meeting with A. Fiedler and J. Cannizzaro regarding document                       0.30
                            review and diocese discovery.

10/26/2021   ACQU J         Meeting with R. Wilson (Rad Computing), K. Huffer, and internal                    0.30
                            case team regarding diocese discovery.

10/26/2021   CANN J         Worked on document review for committee's Rule 2004 discovery.                     2.40

10/26/2021   DELU L         Work on Response (draft) to Committee R. 2004 Demand.                              1.20

10/26/2021   FIED A         Work on response to UCC subpoena.                                                  1.50

10/27/2021   ACQU J         Review and manage discovery protocols in furtherance of uploading                  0.70
                            Norwich diocese discovery to Relativity, and manage related
                            correspondence.

10/27/2021   CANN J         Worked on response to committee Rule 2004 subpoena.                                1.00

10/27/2021   DELU L         Correspondence and work on discovery compliance with R. 2004                       0.90
                            Subpoena from Committee.

10/28/2021   ACQU J         Review pending issues regarding Norwich discovery and its upload                   0.80
                            to Relativity, and manage communications with Litigation Support
                            regarding same.
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                                             PROFESSIONAL SERVICES


Date         Initials          Description                                                                   Hours

10/28/2021   CANN J            Worked on Rule 2004 discovery review.                                            0.70

10/28/2021   CANN J            Videoconferenced with counsel for committee regarding Rule 2004                  0.80
                               discovery.

10/28/2021   DELU L            Prepare for and then conference call with Committee counsel on                   0.80
                               discovery, R. 2004 examination, R. 2019 compliance and
                               exclusivity.

10/28/2021   HIBB R            Reviewed internal documents of the Diocese in response to                        1.00
                               discovery request.

10/28/2021   HIBB R            Reviewed Rule 2004 subpoena in preparation for discovery.                        0.20

10/29/2021   FIED A            Work on discovery.                                                               1.80

10/29/2021   HIBB R            Email to Cannizzaro regarding discovery protocol.                                0.10

10/29/2021   HIBB R            Reviewed discovery protocol.                                                     0.30

10/29/2021   HIBB R            Reviewed internal documents of the Diocese in response to                        5.70
                               discovery request.

10/30/2021   CANN J            Worked on Committee Rule 2004 doc review.                                        1.90

Subtotal for 29_____________________________________________________________________                      49,568.00

Total Professional Services                                                                             $128,980.00




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                                  SUMMARY OF PROFESSIONAL SERVICES


Attorney                                                                 Hours          Rate             Amount

Louis DeLucia                                                             46.40      $835.00           $38,744.00

Tyson Crist                                                                4.20      $515.00            $2,163.00

Alyson Fiedler                                                            74.20      $795.00           $58,989.00

John Cannizzaro                                                           38.20      $425.00           $16,235.00

Michael Ott                                                                6.00      $470.00            $2,820.00

John Acquaviva                                                            20.90      $270.00            $5,643.00

Ryan Hibbard                                                              17.20      $255.00            $4,386.00

Total Professional Services                                              207.10                       $128,980.00


                                               COSTS ADVANCED


Description                                                                                              Amount

Legal Research Expense - WESTLAW                                                                          $174.30

Total Cost Advanced                                                                                       $174.30


Total Invoice Balance Due                                                                               $129,154.30


                                            OUTSTANDING INVOICES

           Date                 Invoice                       Amount              Payments             Balance Due

       10/29/21                XX-XXXXXXX                  $513,946.21                $0.00             $513,946.21



                                                                          Total Balance Due             $513,946.21


                                                    AGED AR




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     Current            31-60 days          61-90 days             91-120 days       120 days +              Total

   $643,100.51            $0.00                $0.00                 $0.00              $0.00            $643,100.51


         Invoices are due upon receipt, past due after 30 days. Interest charges may accrue on past due balance.

                              Questions or concerns, please email payice@icemiller.com.




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The Roman Catholic Diocese of Norwich                                                Invoice No. XX-XXXXXXX
Deliver via Email                                                                        November 15, 2021
financekaren@norwichdiocese.net
alice@norwichdiocese.net

Re:    Chapter 11 Bankruptcy of Diocese of Norwich
       Our Matter No. 064052.10002
                                        INVOICE SUMMARY


For Services rendered through October 31, 2021

Professional Services                                                                          $128,980.00

Disbursements                                                                                     $174.30

Total Current Invoice                                                                          $129,154.30


Previous Balance Due                                                                           $513,946.21

Total Balance Due                                                                              $643,100.51

                                           Payment Options

                Online Payments:                     Wire/ACH Instructions:
                ClientPay                            Huntington Bank
                                                     ABA for ACH 074000078
                                                     ABA for Wire 044000024
                                                     Account No.      01401048453
                                                     Swift Code:      HUNTUS33
                                                     Please Reference Invoice No. XX-XXXXXXX

                                           Payment by check
                                        Remit to : Ice Miller LLP
                                              P.O. Box 68
                                      Indianapolis, IN 46206-0068
                     Please include remittance or reference Invoice No. XX-XXXXXXX

                        Questions or concerns, please email payice@icemiller.com


                                          Payment Terms: Net 30
                                           Tax ID: XX-XXXXXXX
